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                            SOUTHERN DISTW CT OF R ORD A
                              CaseN o.19-CR -20633-ALTO N A GA


   UN ITED STA TES O F AM ERICA

   V.

   W ES DA NIEL BESSO N ,
   a/k/a GSTEV ENM

                        D efendant.
                                                  /


                                      PLEA AG REEM ENT

                 TheUnited StatesAttorney'sOfficefortheSouthem DistrictofFlorida (Eçthis
   Office'')and YVES DAM EL BESSON a/k./a GSTEVE,''(hereinafterreferredto as the
   Rdefendanf')enterintothefollowingapeement
                 The defendantagreesto plead gttilty to Count1 ofthe Indictm ent,which charo
   thedefendantwithknowinglyand willftllly com piring tozmla '     importskilor am sorm oD of

   cocaine,acontrolledsubstance,intotheunitedStates,from alocadon outsidethereof,inviolafon

   ofTitlezlyunitedStatesCode,Sections9524a)and963.
          2.     ThisOffice agreesto seek dism iqsalofthe rem aining countsofthe IndicM entafter

   sentencing.

                 rfhe defendantis aw are that the sentence w ill be im posed by the Court after

   considelingthe advisory FederalSentencing Guidelinesand Policy Statements (hereinafler
   Rsentencing Guidelines'').The defendOtacknowledgesand understandsthatthe Courtwill
   com pute an advisory sentenceunderthe SentencingG uidelinesand thatthe applicable guidelinœ
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   w illbe'determ inedbytheCourtrelyingin partonthe resultsofapre-sentenceinvestigationbyëe

   Couh'sprobaionoffceywhichl vesdgauonwz com m enceaftertheguiltypleahasbeenentee

   The defendantis also aw are thataunder certain circum stances,the Courtm ay departfrom the

   advisory sentencing guideline range thatit has com puted,and m ay raise orlow erthatadvisol

   sentenceunderthe SentencingGuidelines.r
                                         fhedefendsntisfurtherawareandunderstandsthatle

   Court is required to consider the advisory guideline range determ ined under the Sentencing

   Guidelines,butisnotboundtoim poseasentencew il h l atadvisoa range,
                                                                     'l eCourtisperm ife

   to tailortheultim ate sentence in lightofotherstatutory concem s,and such sentencem ay beeiàer

   m oresevereorlessseveTethan theSentencingGuidelines'advisoryrange.KnowingthesefaG

   the defendantunderst ndsand acknow ledgesthat the Courthas the authority to im pose any

   sentqncewithinanduptothesututorymaximum authorizedby1aw fortheoffensets)identifled
   in paragraph 1 and thatthe defendantm ay notw ithdraw the plea solely asa resultofthe sentence

   im posed.

          4.     '
                 l'he defendantalso understandsand acknow ledgesthatthe Courtm ustim pose a

   minimum term ofimprisonmentoften(10)yearsandmayimposeastamtorym aximum temlof
   imprisonm entofuptolifeimprisonm entafollowed by aterm ofsupervisedreleaseofatleastflve

   (5)yearsuptolife.In additiontoaterm ofimprisonmentandsuperdsedrelease,theCourtmay
   imposeafineofuptotenmilliondollars($10,000,000.00)andmayorderforfeitureandresdtution.
          5.     The defendantfurtherundeptandsand acknowledgesthat in addition to any

   sentence im posed underparagraph 4 ofthis ap eem entaa specialassessm entin the am ountof

   $100.00 willbe imposed on the defendant.Thedefendr tagreesthatany specialassessm ent
   im posed shallbe paid atthe tim e of sentencing.Ifa defendantis financially unableto pay the


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                    specialassessm en: thedefendantagreesto presentevidenceto this OfficeandtheCourtattlle

                    tim e ofsentencingasto tlw reasonsforthe defendant'sfailureto pay.

                           6.     This Office reservesthe rightto inform the Courtand theprobation officeofall

                    facts pertinent to the sentencing process,including all relevant inform ation concerning the

                    offensescom mitted,whethercharged or not,as well as concem ing the defendantand the

                    defendant'sbackground-Subjectonly to the expressterms ofany apeed-upon sentencklg
                    recom m endationscontained in thisap eem entvthisOffcefurtherreservesthe rightto m ake any

                    recom m endationasto the quality and quantity ofpunishm ent.

                           7.     This O fficeagreesthatitw illrecom m end atsentencingthatthe Courtreduceby

                    two levels the sentencing gtzideline levelapplicable to the defendant's offense,pursuantto

                    Section 3E1.1(a)ofthe SentencingGuidelines,basedupon the defendant'srecognitionand
                    affirmative and tim ely acceph nce ofpersonalresponsibility.If at the tim e of sentencing the

                    defendant's offense level is deter,m ined to be 16 or F eater, this Office w ill file a m otion

                    requesting an additionalone leveldecreasepursuantto Section 3E1.1(b)ofthe Sentencing
                    Guidelines,statingthatthe defendanthasassisted authoritiesin the investigation orprosecutbn

                    ofthe defendant'sown m iscondud by tim ely notifying authoritiesofthedefendant'sintention to

                    enter a plea of > 111 ,thereby perm iffing the govem m entto avoid prepnring for trialand
                    PermiftingthegovernmentandtheCourttoallocatetheirresom cesem ciently.rliisOfficefurëer
                    agreesto recom m end thatthe defendantbe sentencedatthe 1ow end ofthe guidelinerange,as

                    thatrange is determ ined by the Court.This Office,how ever,w illnotberequired to m ake this

                    motionandtheserecommendationsifthedefendant:(1)failsorrefusestomakeafull,accure
                    and com plete disclosure to the probation office ofthe circum st ncessurroundingthe relevant


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        *                                                                                                         .




               offensecondud;(2)isfoundtohavemisrepresentedfactstothegovernmentpriortoenteling
               intoth1 pleaapeement;or(3)commitsanymisconductafterentexingintothispleaapeemens
               including butnotlim ited to com m itfinga stte orfederalofferkse,violating any term ofrelease,

               orm aking false statem entsorm isrepresentationsto any governm entalentity oroftk ial.

                      8.     ThisOfficeandthedefendr tagreethat although notbindingon theprobation

               officeortheCourt,theywilljointlyrecommendthattheCourtmakethefollowingfindinp and
               conclusionsasto the sentenceto beim posed:

                             (1). Ouantitvofdrugs:'
                                                  Fhatthequantityofcocaineinvolvedintheoffense,for
               purposeofSection2D1.1(a)and(c)oftheSentencingGuidelinesisatleast5kilopams,butle%
               than 15 kilogram s.

                      9.     Additionally,thisOffice and the defendantagreethatatthe tim e ofsentencinp

               althoughnotbindingontheprobationofficeortheCoult theywilljointlyrecommendthatthe
               Defendant'soffenselevelshallbedecreasedbytwo(2)levelspursuanttoSection5C1.2ofthe
               SentencingGuidelinesprovided thatnotlater than the tim e ofthe initialsentencinghearing,the

               defendanthas tnzthfully provided to the Governm entall inform ation and evidence thatthe

               defendanthasconcerningthe offense oroffem esthatw erepartofthe sam e courseof conductor

               ofa com m on schem e orplan.

                      10.    '
                             rhe defendantap eesto plead glzilty Colm t 1 ofthe Indice ent,which chargœ

               conspiracytoimportcocaine,inviolationofTitle 21,United StatesCode,Section 952(a).The
               defendantagreesandunderstandsthatthe abovechargeinvolvesthe defendant'sconduct,andle

               conductofothers,between in and around February 2016 and Septem ber2019. '
                                                                                       rhis agreem ent

               resolvesthe defendant'sfederalcrim inalliability in the Southern D istrictofFlorida grow ing out


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   ofanycrim inalconductbythedefendantknowntothisOflce,asofthedateofthispleaagreemenj
   asto the above-described schem e.

          11.    ThedefendantisawarethatTitle 28,United StatesCode,Section 1291andTitle

   l8,u nited StatesCode,Section 3742affordthedefendanttherighttoappealthesentenceim posed

   inthiscase.Acknowlede gthks,ixlexchangefortheundertaldngsmadebytheUnited Statesilz
   thisplea agreem entothe defendantherebyw aivesallrightsconferredby Sections 1291and 3742

   toappealanysentenceimpose; includinganyresétutionorder,ortoappealthemannerinwhich
   the sentencew asim posed,unlessthesentence exceedsthe m axim um perm ittedby statuteoristhe

   Tesultofan upw ard departure and/oran upward variance from the advisory guideline x'
                                                                                      ange tllat

   the Court establishes at sentencing.The defendantfurtherundersG ndsthat nothing in this

   ap eem entshallaffectthegovem ment'srightand/ordutytoappealassetforth in Title 18,Un4
                                                                                       'ed

   SttesCode,Section 3742*)andTitle28,UnitedStatesCode,Section 1291.However,ifthe
   United States appealsthe defendant'ssentencepursuantto Sections37421)and 1291,the
   defendantshallbe releasedfrom the abovew aiverofhisrightto appealhissentence.

          12.    The defendantfurtherherebywaivesallrightsconferredby Title28,U nited States

   Code,Section 1291toassertanyclaim that(1)thesttutets)towhich thedefendantispleadhg
   guiltyis/areunconsétutional;and/or(2)theadmittedconductdoesnotfallwithinthescopeofthe
   stamtets)ofconviction.
          13.    By siN ing this ap eem enk the defendantacknowledgesthatthe defendanthas
   discussed the appealw aiver set forth in this ap eem entw ith the defendant'sattorney.The

   defendO tfudherap ees,togel erw ii i iso flce,o requestl ati ecoM enteraspecifcfm ding

   thatthe defendant'sw aiverofhisrightto appealthe sentenceim posM in this case andhisrightto


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            appealhisconviction in them annerdescribe abovew asknow ing and voluntaly

                   14.   The defendantis aware thatthe sentencehas notyetbeen determ inedby the

            Court.Thedefendantalso isaw arethatany esfim ateoftheprobablesentencingrangeorsentence

            thatthe defendantm ay receive,w hetherthatestim ate com esfrom the defendant'sattom ey,thts

            Office,ortheprobaéonoY œ ,Lsaprediciop notaprom iKe,andksnotbindingonthisOo ce,the

            probation office orthe Court.rfhe defendantunderstandsfurtherthatany recom m endation th1

            this Office m akestothecourtastosentencinp whdherpursuanttothisag eem entorotherwise,is

            notbindingon the Courtand the Courtm ay disregard the recom m endationin its entirety.The

            defendO tunderstandsandacu ow ledr s,aspreviow ly acu ow le r dl pam p aph 3 abom that

            the defendantm ay not w ithdraw his plea based upon the Court's decision not to accepta

            sentencing recom m endaéon m ade by the defendant,this Office,ora recom m endation m ade

            jointlybythedefendantandthisOftke.




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          15.   This is the entire apeem ent and understanding between this Office and the

   defendant. Thereare no otherap eem ents,prom ises,representations,orunderstandings.



                                            A RIAN A FA JARD O OR SH AN
                                            U N ITED STA TES A x -r   Y


    Date: $ -C.i-'Z-CJ'
                      ZB              By:         -
                                             RobertF.M oore
                                             A ssistantu nited States ttorney


    oate:r -z -Doàl                   By:
                                             ScottW .Sakin,Esq.
                                             Attorney forYvesD anielB esson


    Date:, X?J                        By:            /- ,
                                              vesD    ielBesson-




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